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                         Entity Information

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  ENTITY DISPLAY




                                                                                   1
Public Inquiry                                                                           https://apps.dos.ny.gov/publicInquiry/EntityDisplay

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                 Registered Agent Name and Address




                 Entity Primary Location Name and Address




                 Farmcorpflag




                 Stock Information




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